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1    RENE L. VALLADARES
     Federal Public Defender
2    Nevada State Bar No. 11479
     HEIDI A. OJEDA
3    Assistant Federal Public Defender
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     Heidi_Ojeda@fd.org
6
     Attorney for Allen Warren Miller
7
                                 UNITED STATES DISTRICT COURT
8
                                       DISTRICT OF NEVADA
9

10   UNITED STATES OF AMERICA,                              2:20-CR-00191-APG-DJA

11                  Plaintiff,
                                                               STIPULATION TO CONTINUE
                                                                 SENTENCING HEARING
            v.                                                       (Second Request)
12
     ALLEN WARREN MILLER,
13
                    Defendant.
14

15
            IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
16
     Acting United States Attorney, and Bianca R. Pucci, Assistant United States Attorney,
17   counsel for the United States of America, and Rene L. Valladares, Federal Public Defender,
18   and Heidi A. Ojeda, Assistant Federal Public Defender, counsel for Allen Warren Miller, that

19   the Sentencing hearing currently scheduled on December 21, 2021, be vacated and continued

20   to a date and time convenient to the Court, but no sooner than forty-five (45) days.

21          1.      Counsel needs more time to gather documents and prepare for sentencing.

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         Case 2:20-cr-00191-APG-DJA Document 72 Filed 12/01/21 Page 2 of 3




1            2.     Defense counsel also anticipates being on leave on the currently scheduled

2    date.

3            3.     The defendant is in custody and agrees with the need for the continuance.
             4.     The parties agree to the continuance.
4
             This is the second request for a continuance of the sentencing hearing.
5
             DATED this 30th day of November 2021.
6

7     RENE L. VALLADARES                           CHRISTOPHER CHIOU
      Federal Public Defender                      Acting United States Attorney
8

9
      By /s/ Heidi A. Ojeda                        By /s/ Bianca R. Pucci
10    HEIDI A. OJEDA                               BIANCA R. PUCCI
      Assistant Federal Public Defender            Assistant United States Attorney
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1                               UNITED STATES DISTRICT COURT

2                                     DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                         Case No. 2:20-cr-00191-APG-DJA
4                  Plaintiff,                          ORDER

5           v.

6    ALLEN WARREN MILLER,

7                  Defendant.

8

9           IT IS THEREFORE ORDERED that the sentencing hearing currently scheduled for
     December 21, 2021 at 1:30 p.m., be vacated and continued to February 16, 2022 at the hour
10
     of 2:30 p.m. in courtroom 6C..
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            DATED this 1st day of December 2021.
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                                               UNITED STATES DISTRICT JUDGE
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